                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )   No. 3:11-00012-22
v.                                           )   Judge Sharp
                                             )
ALTO PARNELL                                 )
                                             )


                                        ORDER

       Pending before the Court are several motions (Docket Nos. 1342, 1343, 1344, 1346 and

1347) filed by Defendant pro se.

       Defendant Parnell is represented by John P. Cauley. The above reference motions are

DENIED without prejudice to filing by Defendant’s counsel.

       IT IS SO ORDERED.



                                                 ________________________________
                                                 KEVIN H. SHARP
                                                 UNITED STATES DISTRICT JUDGE




Case 3:11-cr-00012       Document 1350      Filed 02/25/13   Page 1 of 1 PageID #: 6649
